        Case 2:19-bk-14989-WB                    Doc 442 Filed 11/18/19 Entered 11/18/19 14:18:14                                  Desc
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                                                      UNITED STATES DEPARTMENT OF JUSTICE
                                                      OFFICE OF THE UNITED STATES TRUSTEE
                                                         CENTRAL DISTRICT OF CALIFORNIA

In Re:                                                                    CHAPTER 11 (BUSINESS)
    Scoobeez                                                              Case Number:                         2:19-bk-14989-WB
                                                                                                               Jointly Administered:
                                                                                                               2:19-bk-14991-WB; 2:19-bk-14997-WB

                                                                          Operating Report Number:                                            6
                                                           Debtor(s)      For the Month Ending:                           10/1/2019 to 10/31/2019

                                                        I. CASH RECEIPTS AND DISBURSEMENTS
                                                               A. (GENERAL ACCOUNT*)

   BEGINNING BALANCE AS OF PETITION DATE                                                                                                  697,628

1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                                                                                20,805,653

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                                                                     19,128,127
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                                                   2,375,154

4. RECEIPTS DURING CURRENT PERIOD:
   Accounts Receivable - Post-filing                                                                      3,588,265
   Accounts Receivable - Pre-filing
   General Sales
   Other (Specify)              Office Supplies refund (Amazon)                                                   53
                                Office Supplies refund (Best Buy)                                                 49



   TOTAL RECEIPTS THIS PERIOD:                                                                                                          3,588,367

5. BALANCE:                                                                                                                             5,963,521

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   Transfers to Other DIP Accounts (from page 2)                                                          2,091,287
   Disbursements (from page 2)                                                                            1,807,083

   TOTAL DISBURSEMENTS THIS PERIOD:**                                                                                                   3,898,370

7. ENDING BALANCE:                                                                                                                      2,065,151

8. General Account Number(s):                                          ******3680


                                                                       DIP Operating & Operating (Legacy) Wells Fargo
                                                                       3200 Foothill, Blvd.
   Depository Name & Location:                                         La Crescenta, CA 91214

* All receipts must be deposited into the general account.

**This amount should be the same as the total from page 2.




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                                          TOTAL DISBURSEMENTS FROM GENERAL ACCOUNT FOR CURRENT PERIOD

                    Check                                                                                      *Amount       **Amount
Date mm/dd/yyyy    Number              Payee or DIP account                           Purpose                 Transferred    Disbursed     Amount
   10/01/2019     Debit Card           Amazon Prime on line                       Office Expenses                                 209.97       209.97
   10/01/2019     Debit Card           Amazon Prime on line                       Office Expenses                                  80.97        80.97
   10/01/2019       1568                 Elite Mobile Detail                         Van Wash                                     680.00       680.00
   10/01/2019       1567                Garo Dekirmendjian                         Rent Expense                                10,500.00    10,500.00
   10/01/2019       1571            George Voskanian (Expense)                     Travel (Texas)                               4,772.24     4,772.24
   10/01/2019       1569                  Implicit Labs Inc                         IT Expense                                 12,200.00    12,200.00
   10/01/2019     Debit Card                    Indeed                         Recruitment Expense                                506.15       506.15
   10/01/2019       1574           Lab Management Network Inc.               Employee Background Test                              29.00        29.00
   10/01/2019     Debit Card              Nates Cell Phone                        Phone Repairs                                 1,266.87     1,266.87
   10/01/2019       1570            Parkway Commercial Realty                      Rent Expense                                 3,411.98     3,411.98
   10/01/2019       1573                     Scott Sheikh                        Travel (Chicago)                               6,656.89     6,656.89
   10/01/2019       1572                     SuperVision                     Employee Background Test                             223.50       223.50
                               Three Two Seven Family Management,
  10/01/2019        1566                          LLC                               Rent Expense                                2,334.50     2,334.50
  10/02/2019      Debit Card                    Indeed                          Recruitment Expense                                45.37        45.37
  10/02/2019      Debit Card                    Indeed                          Recruitment Expense                               427.87       427.87
  10/02/2019      Debit Card                    Indeed                          Recruitment Expense                               114.24       114.24
  10/02/2019        1577                   Marco Briseno                     Office Expenses (Gardener)                           400.00       400.00
  10/02/2019        1575                    Maria Estrada                     Office Expenses (Janitor)                           918.75       918.75
  10/02/2019        1576              Nicholas Solari (expense)                         Travel                                    164.49       164.49
  10/02/2019      Debit Card                     Offix                             Office Expenses                                700.00       700.00
  10/02/2019      Debit Card                   Verizon                             Phone Services                                  58.30        58.30
  10/02/2019      Debit Card                   Verizon                             Phone Services                                  58.30        58.30
  10/03/2019      Debit Card           Amazon Prime on line                        Office Expenses                                476.00       476.00
  10/03/2019      Debit Card           Amazon Prime on line                        Office Expenses                                209.95       209.95
  10/03/2019      Debit Card           Amazon Prime on line                        Office Expenses                                 94.80        94.80
  10/03/2019      Debit Card           Amazon Prime on line                        Office Expenses                                 74.64        74.64
  10/03/2019      Debit Card           Amazon Prime on line                        Office Expenses                                132.25       132.25
  10/03/2019      Debit Card           Amazon Prime on line                        Office Expenses                                  0.52         0.52
  10/03/2019      Debit Card                   Best Buy                            Office Expenses                              1,204.86     1,204.86

  10/03/2019        ACH        Combined Group Insurance Services Inc           Workers Compensation                            7,997.00      7,997.00
  10/03/2019      Debit Card                Google Service                      Dues & Subscriptions                           2,126.65      2,126.65
  10/03/2019        Wire                  Hertz Corporation                            Vehicle                               163,975.58    163,975.58
  10/03/2019        Wire            Hillair Capital Management              Per Cash collateral stipulation                   40,000.00     40,000.00
  10/03/2019      Debit Card                    Indeed                          Recruitment Expense                              501.62        501.62
  10/03/2019        Wire                     PEX Holding                                 Fuel                                 20,000.00     20,000.00
  10/03/2019      Debit Card                   Swizznet                         Dues & Subscriptions                             125.98        125.98
  10/03/2019      Deduction               Wells Fargo Bank                            Bank Fee                                    30.00         30.00
  10/03/2019      Deduction               Wells Fargo Bank                            Bank Fee                                    30.00         30.00
  10/03/2019      Deduction               Wells Fargo Bank                            Bank Fee                                    30.00         30.00
  10/03/2019        Wire                  Wells Fargo Bank                              Payroll                 815,380.00                 815,380.00
  10/03/2019        Wire                  Wells Fargo Bank                               Tax                    252,134.00                 252,134.00
  10/04/2019      Debit Card           Amazon Prime on line                        Office Expenses                               155.80        155.80
  10/04/2019      Debit Card           Amazon Prime on line                        Office Expenses                                49.98         49.98
  10/04/2019      Debit Card           Amazon Prime on line                        Office Expenses                                13.04         13.04
  10/04/2019      Debit Card           Amazon Prime on line                        Office Expenses                               154.20        154.20
  10/04/2019      Debit Card           Amazon Prime on line                        Office Expenses                                33.00         33.00
  10/04/2019        1581                  Booster Fuels, Inc.                            Fuel                                  5,094.12      5,094.12
  10/04/2019        1582                  Booster Fuels, Inc.                            Fuel                                  4,881.93      4,881.93
  10/04/2019        1583                  Booster Fuels, Inc.                            Fuel                                  3,475.24      3,475.24
  10/04/2019        1584                  Booster Fuels, Inc.                            Fuel                                  6,580.51      6,580.51
  10/04/2019        1585                  Booster Fuels, Inc.                            Fuel                                  3,454.49      3,454.49
  10/04/2019        1586                  Booster Fuels, Inc.                            Fuel                                  2,680.92      2,680.92
  10/04/2019        1587                  Booster Fuels, Inc.                            Fuel                                  4,281.28      4,281.28
  10/04/2019        1589            Charter Spectrum - Ft Worth                         Utility                                  187.88        187.88
  10/04/2019        1588          City of Glendale Water & Power                        Utility                                1,322.84      1,322.84
  10/04/2019      Debit Card                    Indeed                          Recruitment Expense                              506.73        506.73
  10/04/2019        1580                    Maria Estrada                     Office Expenses (Janitor)                        1,000.00      1,000.00
  10/04/2019        1590              Newport Urgent Care Inc                  Workers Compensation                               25.00         25.00
  10/07/2019        1592                   Athens Services                              Utility                                  174.25        174.25
  10/07/2019      Debit Card                    Indeed                          Recruitment Expense                              501.43        501.43
  10/07/2019        1593           Mobile Detailing Chicago LLC                       Van Wash                                 2,675.00      2,675.00
  10/07/2019      Debit Card                 ServerMania                           Office Expenses                               250.00        250.00
  10/07/2019      Debit Card                Shutter Stock                       Dues & Subscriptions                             199.00        199.00
  10/07/2019        1591               Spectrum San Antonio                             Utility                                  324.38        324.38
  10/07/2019      Deduction               Wells Fargo Bank                            Bank Fee                                    31.00         31.00
  10/08/2019        ACH               Accurate Background LLC                Employee Background Test                         12,970.49     12,970.49
  10/08/2019      Debit Card                    Indeed                          Recruitment Expense                              504.20        504.20
  10/08/2019        Wire                     PEX Holding                                 Fuel                                 25,000.00     25,000.00

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10/08/2019     1594              Spectrum/La Crescenta                             Utility                              264.98       264.98
10/08/2019   Deduction               Wells Fargo Bank                            Bank Fee                                30.00        30.00
10/09/2019   Debit Card           Amazon Prime on line                        Office Expenses                            27.45        27.45
10/09/2019   Debit Card           Amazon Prime on line                        Office Expenses                            19.74        19.74
10/09/2019     1597                    AT&T Mobility                          Phone Services                         19,934.02    19,934.02
10/09/2019   Debit Card                   Best Buy                            Office Expenses                           674.42       674.42
10/09/2019   Debit Card                   Best Buy                            Office Expenses                           832.86       832.86
10/09/2019     1596                     Devino Group                            IT Expense                            2,000.00     2,000.00
10/09/2019     1595           George Voskanian (Expense)                           Travel                                59.04        59.04
10/09/2019     Wire                 Hertz Corporation                             Vehicle                           114,331.99   114,331.99
10/09/2019     Wire            Hillair Capital Management              Per Cash collateral stipulation               40,000.00    40,000.00
10/09/2019   Debit Card                    Indeed                          Recruitment Expense                          505.39       505.39
10/09/2019   Deduction               Wells Fargo Bank                            Bank Fee                                30.00        30.00
10/09/2019   Deduction               Wells Fargo Bank                            Bank Fee                                30.00        30.00
10/10/2019     1598             AE Works Enterprises Inc.                         Uniform                             4,566.13     4,566.13
10/10/2019   Debit Card                    Indeed                          Recruitment Expense                          509.10       509.10
10/10/2019   Debit Card                     Twilio                         Dues & Subscriptions                          40.17        40.17
10/10/2019     Wire                  Wells Fargo Bank                               Tax                  4,540.00                  4,540.00
10/11/2019     1599                 Booster Fuels, Inc.                             Fuel                              3,864.84     3,864.84
10/11/2019     1600                 Booster Fuels, Inc.                             Fuel                              4,392.25     4,392.25
10/11/2019     1601                 Booster Fuels, Inc.                             Fuel                              3,817.40     3,817.40
10/11/2019     1602                 Booster Fuels, Inc.                             Fuel                              3,709.52     3,709.52
10/11/2019     1603                 Booster Fuels, Inc.                             Fuel                              4,830.50     4,830.50
10/11/2019     1604                 Booster Fuels, Inc.                             Fuel                              2,874.37     2,874.37
10/11/2019     1605                 Booster Fuels, Inc.                             Fuel                              6,327.27     6,327.27
10/11/2019   Debit Card            Confirm Biosciences                  Employee Background Test                        800.00       800.00
10/11/2019     1606                     Devino Group                            IT Expense                            2,000.00     2,000.00
10/11/2019   Debit Card           Halo Branded Solution                           Uniform                             1,935.11     1,935.11
10/11/2019   Debit Card                    Indeed                          Recruitment Expense                          509.85       509.85
10/11/2019     Wire                      PEX Holding                                Fuel                              5,000.00     5,000.00
10/11/2019   Debit Card                 ServerMania                           Office Expenses                           107.10       107.10
10/11/2019   Deduction               Wells Fargo Bank                            Bank Fee                                30.00        30.00
10/15/2019   Debit Card           Amazon Prime on line                        Office Expenses                           218.42       218.42
10/15/2019   Debit Card           Amazon Prime on line                        Office Expenses                           105.98       105.98
10/15/2019   Debit Card           DNH*GODADDY.COM                          Dues & Subscriptions                          93.48        93.48
10/15/2019   Debit Card           DNH*GODADDY.COM                          Dues & Subscriptions                          73.14        73.14
10/15/2019   Debit Card            Extra Space Storage                         Rent Expense                             159.50       159.50
10/15/2019   Debit Card                    Indeed                          Recruitment Expense                          502.06       502.06
10/15/2019   Debit Card                    Indeed                          Recruitment Expense                          504.47       504.47
10/15/2019   Debit Card                    Indeed                          Recruitment Expense                          500.64       500.64
10/15/2019   Debit Card               Liquid Web LLC                       Dues & Subscriptions                         150.00       150.00
10/15/2019   Debit Card               Liquid Web LLC                       Dues & Subscriptions                         150.00       150.00
10/15/2019     1608                    Lyneisha Fields                            Citation                            1,190.00     1,190.00
10/15/2019     1609                    Maria Estrada                     Office Expenses (Janitor)                      862.50       862.50
10/15/2019     Wire                      PEX Holding                                Fuel                             35,000.00    35,000.00
10/15/2019     1610                   Ring Central Inc.                       Phone Services                          4,386.73     4,386.73
10/15/2019   Debit Card                 ServerMania                           Office Expenses                            93.60        93.60
10/15/2019     1607                        Verizon                            Phone Services                          5,555.59     5,555.59
10/15/2019   Deduction               Wells Fargo Bank                            Bank Fee                                30.00        30.00
10/16/2019     1611       Anchor Risk and Claims Management               Workers Compensation                          823.44       823.44
10/16/2019     1616          Crescenta Valley Water District                       Utility                            2,236.11     2,236.11
10/16/2019     1612                   DBBMCKENNON                            Professional Fee                         7,642.50     7,642.50
10/16/2019     1614             DW Harrow & Assoc LLC                         BK Related Fees                         2,500.00     2,500.00
10/16/2019     1613           George Voskanian (Expense)                           Travel                               997.92       997.92
10/16/2019     1615               Grobstein Teeple, LLP                       BK Related Fees                         2,500.00     2,500.00
10/16/2019   Debit Card                    Indeed                          Recruitment Expense                          501.25       501.25
10/16/2019     1617       Texas Health Surgery Center Park Hill           Workers Compensation
10/17/2019   Debit Card           Amazon Prime on line                        Office Expenses                           100.96       100.96
10/17/2019   Debit Card           Amazon Prime on line                        Office Expenses                            55.40        55.40
10/17/2019   Debit Card           Amazon Prime on line                        Office Expenses                           176.09       176.09
10/17/2019   Debit Card           Amazon Prime on line                        Office Expenses                            20.56        20.56
10/17/2019     1619              Anibal Eduardo Castillo                         Van Wash                             2,580.00     2,580.00
10/17/2019     1620                 Booster Fuels, Inc.                             Fuel                              4,004.41     4,004.41
10/17/2019     1621                 Booster Fuels, Inc.                             Fuel                              3,133.28     3,133.28
10/17/2019     1622                 Booster Fuels, Inc.                             Fuel                              4,458.58     4,458.58
10/17/2019     1623                 Booster Fuels, Inc.                             Fuel                              4,321.17     4,321.17
10/17/2019     1624                 Booster Fuels, Inc.                             Fuel                              2,831.10     2,831.10
10/17/2019     1625                 Booster Fuels, Inc.                             Fuel                              7,449.99     7,449.99
10/17/2019     1626                 Booster Fuels, Inc.                             Fuel                              3,899.64     3,899.64
10/17/2019     Wire               CONWAY MACKENZIE                            BK Related Fees                        80,000.00    80,000.00
10/17/2019     Wire                  Foley and Lardner                        BK Related Fees                       260,000.00   260,000.00
10/17/2019   Debit Card           Halo Branded Solution                           Uniform                             1,889.02     1,889.02
10/17/2019     Wire                 Hertz Corporation                             Vehicle                           190,648.02   190,648.02
10/17/2019     Wire            Hillair Capital Management              Per Cash collateral stipulation               40,000.00    40,000.00

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10/17/2019     Wire                   Innovative                              Insurance                             63,738.92    63,738.92
10/17/2019     1618               TMC Provider Group                    Workers Compensation                           384.99       384.99
10/17/2019     Wire                Wells Fargo Bank                             Payroll                775,526.53               775,526.53
10/17/2019     Wire                Wells Fargo Bank                              Tax                   233,010.30               233,010.30
10/17/2019   Deduction             Wells Fargo Bank                            Bank Fee                                31.00         31.00
10/17/2019   Deduction             Wells Fargo Bank                            Bank Fee                                30.00         30.00
10/17/2019   Deduction             Wells Fargo Bank                            Bank Fee                                30.00         30.00
10/17/2019   Deduction             Wells Fargo Bank                            Bank Fee                                30.00         30.00
10/17/2019   Deduction             Wells Fargo Bank                            Bank Fee                                30.00         30.00
10/17/2019   Deduction             Wells Fargo Bank                            Bank Fee                                30.00         30.00
10/18/2019   Debit Card           Amazon Prime on line                     Office Expenses                            238.00        238.00
10/18/2019   Debit Card                 Indeed                           Recruitment Expense                          507.61        507.61
10/18/2019     1627                 Julio Martinez                               Fuel                                 200.00        200.00
10/18/2019     1628                   Ryan Elam                                  Tolls                                778.26        778.26

10/18/2019     1629       Shoushana Ohanessian-expense account                    Travel                             5,465.00     5,465.00
10/21/2019   Debit Card            Amazon Prime on line                     Office Expenses                             12.74        12.74
10/21/2019   Debit Card            Amazon Prime on line                     Office Expenses                             14.32        14.32
10/21/2019   Debit Card                   Dropbox                        Dues & Subscriptions                           19.99        19.99
10/21/2019     1630                  Force 10 Partners                      BK Related Fees                         25,000.00    25,000.00
10/21/2019   Debit Card                    Indeed                        Recruitment Expense                           503.34       503.34
10/21/2019   Debit Card            Live Agent Recurring                  Dues & Subscriptions                          541.00       541.00
10/21/2019     Wire                      PEX Holding                               Fuel                             30,000.00    30,000.00
10/21/2019   Deduction               Wells Fargo Bank                           Bank Fee                                30.00        30.00
10/22/2019   Debit Card            Amazon Prime on line                     Office Expenses                             52.95        52.95
10/22/2019   Debit Card            Amazon Prime on line                     Office Expenses                            181.80       181.80
10/22/2019     1631                     Devino Group                           IT Expense                            2,000.00     2,000.00
10/22/2019   Debit Card                    Indeed                        Recruitment Expense                           504.19       504.19
10/22/2019   Debit Card                 ServerMania                         Office Expenses                             93.60        93.60
10/22/2019   Debit Card                   SignNow                           Office Expenses                            180.00       180.00
10/23/2019   Debit Card            Amazon Prime on line                     Office Expenses                             59.80        59.80
10/23/2019   Debit Card            Amazon Prime on line                     Office Expenses                             78.28        78.28
10/23/2019   Debit Card            Amazon Prime on line                     Office Expenses                              5.00         5.00
10/23/2019     Wire                  Hertz Corporation                           Vehicle                            68,298.88    68,298.88
10/23/2019     Wire            Hillair Capital Management            Per Cash collateral stipulation                40,000.00    40,000.00
10/23/2019   Debit Card                    Indeed                        Recruitment Expense                           503.28       503.28
10/23/2019     1632              Nicholas Solari (expense)                         Fuel                                100.00       100.00
10/23/2019     1633               Sixiang Zhao (Expense)             Shipping and delivery expense                     179.93       179.93
10/23/2019   Deduction               Wells Fargo Bank                           Bank Fee                                30.00        30.00
10/23/2019   Deduction               Wells Fargo Bank                           Bank Fee                                30.00        30.00
10/24/2019   Debit Card            Amazon Prime on line                     Office Expenses                              6.37         6.37
10/24/2019     1636                  Booster Fuels, Inc.                           Fuel                              2,312.18     2,312.18
10/24/2019     1637                  Booster Fuels, Inc.                           Fuel                              5,769.88     5,769.88
10/24/2019     1638                  Booster Fuels, Inc.                           Fuel                              4,259.90     4,259.90
10/24/2019     1639                  Booster Fuels, Inc.                           Fuel                              3,749.28     3,749.28
10/24/2019     1640                  Booster Fuels, Inc.                           Fuel                              4,346.12     4,346.12
10/24/2019     1641                  Booster Fuels, Inc.                           Fuel                              3,517.69     3,517.69
10/24/2019     1642                  Booster Fuels, Inc.                           Fuel                              2,632.28     2,632.28
10/24/2019     1647                 Elite Mobile Detail                        Van Wash                                640.00       640.00
10/24/2019     1646             Hydrex Pest & Termite Co.                         Utility                               70.00        70.00
10/24/2019     1643                  Lockton Insurance                          Insurance                           71,582.00    71,582.00
10/24/2019     1644              Ready Refresh by Nestle                    Office Expenses                             37.68        37.68
10/24/2019     1645              Ready Refresh by Nestle                    Office Expenses                            198.94       198.94
10/24/2019   Debit Card                     Twilio                       Dues & Subscriptions                           40.17        40.17
10/25/2019   Debit Card            Amazon Prime on line                     Office Expenses                             79.65        79.65
10/25/2019   Debit Card            Amazon Prime on line                     Office Expenses                            439.60       439.60
10/25/2019   Debit Card            Amazon Prime on line                     Office Expenses                            999.00       999.00
10/25/2019   Debit Card            Amazon Prime on line                     Office Expenses                            286.20       286.20
10/25/2019   Debit Card                    Indeed                        Recruitment Expense                           500.62       500.62
10/25/2019   Debit Card               Rackspace Cloud                    Dues & Subscriptions                          888.54       888.54
10/25/2019     Wire                  Wells Fargo Bank                              Tax                  10,696.00                10,696.00
10/28/2019   Debit Card            Amazon Prime on line                     Office Expenses                            508.80       508.80
10/28/2019   Debit Card            Amazon Prime on line                     Office Expenses                          1,039.03     1,039.03
10/28/2019   Debit Card            Amazon Prime on line                     Office Expenses                            148.68       148.68
10/28/2019   Debit Card                    Indeed                        Recruitment Expense                           504.31       504.31
10/28/2019     Wire                      PEX Holding                               Fuel                             30,000.00    30,000.00
10/28/2019   Deduction               Wells Fargo Bank                           Bank Fee                                30.00        30.00
10/29/2019   Debit Card                    Indeed                        Recruitment Expense                           500.07       500.07
10/29/2019   Debit Card                Liquid Web LLC                    Dues & Subscriptions                        1,518.00     1,518.00
10/29/2019     1649             Physicians Immediate Care               Workers Compensation                           124.98       124.98
10/29/2019     1650               Select Physical Therapy               Workers Compensation                           119.40       119.40
10/29/2019     1648                       SoCalGas                                Utility                               17.52        17.52
10/29/2019   Debit Card                   U-STOR-IT                          Rent Expense                               92.00        92.00
10/29/2019   Debit Card                   Wal-Mart                          Office Expenses                            974.09       974.09

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   10/30/2019       Debit Card              Amazon Prime on line                          Office Expenses                                      56.62        56.62
   10/30/2019         Wire                    Hertz Corporation                               Vehicle                                     101,220.17   101,220.17
   10/30/2019         Wire               Hillair Capital Management                Per Cash collateral stipulation                         40,000.00    40,000.00
   10/30/2019       Debit Card                      Indeed                             Recruitment Expense                                    506.14       506.14
   10/30/2019       Deduction                  Wells Fargo Bank                              Bank Fee                                          30.00        30.00
   10/30/2019       Deduction                  Wells Fargo Bank                              Bank Fee                                          30.00        30.00
   10/31/2019       Debit Card              Amazon Prime on line                          Office Expenses                                     242.15       242.15
   10/31/2019       Debit Card              Amazon Prime on line                          Office Expenses                                     763.08       763.08
   10/31/2019       Debit Card              Amazon Prime on line                          Office Expenses                                      43.25        43.25
   10/31/2019       Debit Card              Amazon Prime on line                          Office Expenses                                     104.60       104.60
   10/31/2019         1653                    Booster Fuels, Inc.                               Fuel                                        2,402.13     2,402.13
   10/31/2019         1654                    Booster Fuels, Inc.                               Fuel                                        4,646.85     4,646.85
   10/31/2019         1655                    Booster Fuels, Inc.                               Fuel                                        2,864.13     2,864.13
   10/31/2019         1656                    Booster Fuels, Inc.                               Fuel                                        4,090.49     4,090.49
   10/31/2019         1657                    Booster Fuels, Inc.                               Fuel                                        2,477.18     2,477.18
   10/31/2019         1658                    Booster Fuels, Inc.                               Fuel                                        3,540.69     3,540.69
   10/31/2019         1659                    Booster Fuels, Inc.                               Fuel                                        4,568.19     4,568.19
   10/31/2019         1652                     Karen Soto Ridge                       Workers Compensation                                  5,000.00     5,000.00
   10/31/2019         1651                       Maria Estrada                       Office Expenses (Janitor)                                956.25       956.25


                                                                              TOTAL DISBURSEMENTS THIS PERIOD:             2,091,286.83    1,807,083    3,898,370

* Fill in amounts in this column if they are TRANSFERS to another DIP account (e.g. Payroll or Tax); the "amount" column will
be filled in for you.
** Fill in amounts in this column if they are DISBURSEMENTS to outside payees; the "amount" column will be filled in for you.




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                                                         GENERAL ACCOUNT
                                                        BANK RECONCILIATION

                           Bank statement Date:               10/31/2019      Balance on Statement:      2,102,657

Plus deposits in transit (a):

                                                       Deposit Date           Deposit Amount



TOTAL DEPOSITS IN TRANSIT                                                                                          0

Less Outstanding Checks (a):
                           Check Number                 Check Date            Check Amount
                                 1003                         05/15/2019                         151
                                 1008                         05/20/2019                          30
                                 1024                         05/21/2019                          23
                                 1029                         05/21/2019                          28
                                 1045                         05/24/2019                       1,496
                                 1074                         05/29/2019                         302
                                 1151                         06/06/2019                          27
                                 1287                         07/02/2019                       2,000
                                 1631                         10/22/2019                       2,000
                                 1647                         10/24/2019                         640
                                 1648                         10/29/2019                          18
                                 1649                         10/29/2019                         125
                                 1650                         10/29/2019                         119
                                 1651                         10/31/2019                         956
                                 1652                         10/31/2019                       5,000
                                 1653                         10/31/2019                       2,402
                                 1654                         10/31/2019                       4,647
                                 1655                         10/31/2019                       2,864
                                 1656                         10/31/2019                       4,090
                                 1657                         10/31/2019                       2,477
                                 1658                         10/31/2019                       3,541
                                 1659                         10/31/2019                       4,568

TOTAL OUTSTANDING CHECKS:                                                                                     37,506

Bank statement Adjustments:
Explanation of Adjustments-



ADJUSTED BANK BALANCE:                                                                                   2,065,151

* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment




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                                                     I. CASH RECEIPTS AND DISBURSEMENTS
                                                             B. (PAYROLL ACCOUNT)

1. TOTAL RECEIPTS PER ALL PRIOR PAYROLL ACCOUNT REPORTS                                                    6,969,971

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR PAYROLL                                                         6,969,643
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                            328

4. RECEIPTS DURING CURRENT PERIOD:                                                                         1,590,907
     (Transfer from General Account)

5. BALANCE:                                                                                                1,591,235

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
     TOTAL DISBURSEMENTS THIS PERIOD:***                                                                   1,585,535

7. ENDING BALANCE:                                                                                              5,700

8.   PAYROLL Account Number(s):                                                ******8415


                                                                               DIP Payroll Wells Fargo
                                                                               3200 Foothill, Blvd.
     Depository Name & Location:                                               La Crescenta, CA 91214




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                         TOTAL DISBURSEMENTS FROM PAYROLL ACCOUNT FOR CURRENT PERIOD

   Date        Check
mm/dd/yyyy    Number               Payee                                 Purpose                           Amount
10/01/2019      433       Christopher Bradford            Payroll adjustment 0901-09062019                   75.02
10/01/2019      437             Richard Lugo              Payroll adjustment 0901-09062019                  208.55
10/01/2019      436           Andres Gomez                     Final check 0916-09302019                    598.48
10/01/2019      438            Alvaro Flores                   Final check 0916-09302019                    366.11
10/01/2019      434        Francisco Gutierrez                 Final check 0916-09302019                    162.73
10/01/2019      439        Brandon Dominguez                   Final check 0916-09302019                     223.5
10/01/2019      440            Khaled Elbast                   Final check 0916-09302019                    255.75
10/01/2019      441           Alex Hernandez                   Final check 0916-09302019                    949.39
10/01/2019      442           Martese Mixon                    Final check 0916-09302019                    960.94
10/01/2019      443              Kathy Hicks              Fees for the period 0916-09302019                1,750.00
10/01/2019      444              Kathy Hicks            Fees for the period 0916-09302019 OT                  860
10/01/2019      207              Ruben Silva                   Final check 0716-07242019                    127.89
10/02/2019      445             Evan Obrien                    Final check 0916-09302019                   1,224.51
10/02/2019      446         Robert Hernandez                       Salary Continuation                      528.84
10/03/2019      448           Leroy Pallanez               salary adjustment 0916-09302019                 1,688.30
10/03/2019     Wire                 ADP                              0916-09302019                        792,487.92
10/03/2019     Wire                 ADP                              0916-09302019                         5,241.18
10/03/2019   Deduction       Wells Fargo Bank                            Bank Fee                              5
10/03/2019   Deduction       Wells Fargo Bank                            Bank Fee                              5
10/04/2019      450           Brian Guardado                   Final check 0916-09302019                   1,176.31
10/04/2019      451       Vache Carl Derderian                 Final check 1001-10042019                     667.5
10/08/2019      452        Brandon Echeverria                  Final check 1001-10082019                    185.88
10/08/2019      457            Abreham Tulu                    Final check 1001-10082019                     348.1
10/08/2019      454          Sotonye Jamabo                    Final check 1001-10082019                    183.91
10/08/2019      455            Micah Werdel                    Final check 1001-10082019                     302.2
10/08/2019      456           Carlos Hasbun                    Final check 1001-10082019                    190.72
10/10/2019      458          Carlos Cardenas                   Final check 1001-10102019                     438.2
10/10/2019      459        Christian Rodriguez                 Final check 1001-10102019                    642.75
10/10/2019      460        Christina Matthews                  Final check 1001-10102019                    136.69
10/11/2019      461         Robert Hernandez                   Final check 1001-10112019                    605.67
10/11/2019      462            Trenton Davis                   Final check 1001-10112019                    301.81
10/11/2019      463           Nickolus Valles                  Final check 1001-10112019                    375.83
10/11/2019      464         Richard Hernandez                        0916-09302019                          537.29
10/11/2019      465           Andres Gomez                           0916-09302019                         1,152.09
10/15/2019      466          David Ontiveros                   Final check 1001-10152019                    288.34
10/15/2019      467             Juan Alcocer                   Final check 1001-10152019                    687.68
10/15/2019      468            Joshua Torres                   Final check 1001-10152019                    836.52
10/15/2019      469             Piero Barriga                  Final check 1001-10152019                    415.66
10/15/2019      470              Gary Floyd                    Final check 1001-10152019                    123.92
10/15/2019      471          Manuel Martinez                   Final check 1001-10152019                    783.41
10/16/2019      472            Joshua Torres                      Final check 10162019                      136.69
10/16/2019      473              Kathy Hicks              Fees for the period 1001-10152019                1,837.50
10/16/2019      474              Kathy Hicks            Fees for the period 1001-10152019 OT                  840
10/16/2019      475            Theda Chavez               Replacement check 0916-09302019                   479.93
10/17/2019      476             Quincy Mays                    Final check 1016-10172019                    289.83
10/17/2019   Deduction       Wells Fargo Bank                            Bank Fee                              5
10/17/2019   Deduction       Wells Fargo Bank                            Bank Fee                              5
10/17/2019     Wire                 ADP                              1001-10152019                        737,127.78
10/17/2019     Wire                 ADP                              1001-10152019                         7,146.07
10/18/2019      477           lynnise Irizarry                   Payroll 1001-10152019                     1,292.20
10/21/2019      480             Edgar Acosta     Bonus (25% of $20k bonus allocated to Top Field Staff)      43.59
10/21/2019      481           Gabriel Aguilar    Bonus (25% of $20k bonus allocated to Top Field Staff)      58.77
10/21/2019      482          Sebastian Araujo    Bonus (25% of $20k bonus allocated to Top Field Staff)      59.43
10/21/2019      483        Christian Argumedo    Bonus (25% of $20k bonus allocated to Top Field Staff)      43.12
10/21/2019      484          Alondra Armenta     Bonus (25% of $20k bonus allocated to Top Field Staff)      58.78
10/21/2019      485          Roberto Arrazola    Bonus (25% of $20k bonus allocated to Top Field Staff)      43.59
10/21/2019      486           Charles Ashurst    Bonus (25% of $20k bonus allocated to Top Field Staff)      58.78

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10/21/2019         487        Patrick J Austin    Bonus (25% of $20k bonus allocated to Top Field Staff)   43.59
10/21/2019         488        Andrew Avard        Bonus (25% of $20k bonus allocated to Top Field Staff)   43.59
10/21/2019         489        Lamiah Ballard      Bonus (25% of $20k bonus allocated to Top Field Staff)   56.24
10/21/2019         490        Fred Balthazar      Bonus (25% of $20k bonus allocated to Top Field Staff)   43.11
10/21/2019         491            Huy Banh        Bonus (25% of $20k bonus allocated to Top Field Staff)   43.11
10/21/2019         492         Jasmine Biles      Bonus (25% of $20k bonus allocated to Top Field Staff)   41.23
10/21/2019         492      Wells Fargo Bank             Bank's error - charged check#492 twice            41.21
10/21/2019         493      Jonathan Bowers       Bonus (25% of $20k bonus allocated to Top Field Staff)   59.43
10/21/2019         494        Jonathan Boyd       Bonus (25% of $20k bonus allocated to Top Field Staff)   43.58
10/21/2019         495       Anthony Brown        Bonus (25% of $20k bonus allocated to Top Field Staff)   43.57
10/21/2019         497       Damonta Buxton       Bonus (25% of $20k bonus allocated to Top Field Staff)   41.25
10/21/2019         498        Keith Caldwell      Bonus (25% of $20k bonus allocated to Top Field Staff)    20.8
10/21/2019         499       Marcos Cardoso       Bonus (25% of $20k bonus allocated to Top Field Staff)   43.59
10/21/2019         500        Dillon Carreon      Bonus (25% of $20k bonus allocated to Top Field Staff)   43.58
10/21/2019         501        Krystal Carreon     Bonus (25% of $20k bonus allocated to Top Field Staff)   59.43
10/21/2019         502         Sergio Castro      Bonus (25% of $20k bonus allocated to Top Field Staff)   43.11
10/21/2019         504         Robert Caton       Bonus (25% of $20k bonus allocated to Top Field Staff)   43.09
10/21/2019         505         Gerson Chica       Bonus (25% of $20k bonus allocated to Top Field Staff)   58.79
10/21/2019         506            John Clay       Bonus (25% of $20k bonus allocated to Top Field Staff)   43.57
10/21/2019         507         Rodolfo Colin      Bonus (25% of $20k bonus allocated to Top Field Staff)   56.24
10/21/2019         509      Emilio Del Conde      Bonus (25% of $20k bonus allocated to Top Field Staff)   59.43
10/21/2019         510        Dawit Demssie       Bonus (25% of $20k bonus allocated to Top Field Staff)   43.58
10/21/2019         511       Nicholas Devora      Bonus (25% of $20k bonus allocated to Top Field Staff)   59.42
10/21/2019         512       Marcus Dodson        Bonus (25% of $20k bonus allocated to Top Field Staff)   59.43
10/21/2019         513           John Eaton       Bonus (25% of $20k bonus allocated to Top Field Staff)   43.11
10/21/2019         514       Gregrion Edison      Bonus (25% of $20k bonus allocated to Top Field Staff)   43.11
10/21/2019         515           Ronald Ellis     Bonus (25% of $20k bonus allocated to Top Field Staff)   56.24
10/21/2019         516           Ryan Evon        Bonus (25% of $20k bonus allocated to Top Field Staff)   43.59
10/21/2019         517        Lyneisha Fields     Bonus (25% of $20k bonus allocated to Top Field Staff)   56.24
10/21/2019         518         Juan Figueroa      Bonus (25% of $20k bonus allocated to Top Field Staff)   56.24
10/21/2019         519       Oswaldo Franco       Bonus (25% of $20k bonus allocated to Top Field Staff)   43.11
10/21/2019         520       Monique Frazier      Bonus (25% of $20k bonus allocated to Top Field Staff)   56.23
10/21/2019         521          Roger Garcia      Bonus (25% of $20k bonus allocated to Top Field Staff)    43.1
10/21/2019         522       Joaquin Gilmore      Bonus (25% of $20k bonus allocated to Top Field Staff)    57.5
10/21/2019         523         Trevor Grove       Bonus (25% of $20k bonus allocated to Top Field Staff)   43.58
10/21/2019         524       Javier Gutierrez     Bonus (25% of $20k bonus allocated to Top Field Staff)   43.11
10/21/2019         525         Eliud Guzman       Bonus (25% of $20k bonus allocated to Top Field Staff)   43.58
10/21/2019         526        Dasia Hawkins       Bonus (25% of $20k bonus allocated to Top Field Staff)   59.43
10/21/2019         527   Luis Enrique Hernandez   Bonus (25% of $20k bonus allocated to Top Field Staff)   59.43
10/21/2019         528           Clifford Hill    Bonus (25% of $20k bonus allocated to Top Field Staff)   21.79
10/21/2019         529      Tasheera Hughes       Bonus (25% of $20k bonus allocated to Top Field Staff)   43.59
10/21/2019         530        lynnise Irizarry    Bonus (25% of $20k bonus allocated to Top Field Staff)   56.24
10/21/2019         531       Kimberley James      Bonus (25% of $20k bonus allocated to Top Field Staff)   43.58
10/21/2019         532          Antione King      Bonus (25% of $20k bonus allocated to Top Field Staff)   41.23
10/21/2019         533          Curtea King       Bonus (25% of $20k bonus allocated to Top Field Staff)   43.58
10/21/2019         534        Marcus Lafaele      Bonus (25% of $20k bonus allocated to Top Field Staff)   59.43
10/21/2019         535       Ashton Lambert       Bonus (25% of $20k bonus allocated to Top Field Staff)   43.58
10/21/2019         536          Randy Larin       Bonus (25% of $20k bonus allocated to Top Field Staff)   59.42
10/21/2019         537            Edgar Lee       Bonus (25% of $20k bonus allocated to Top Field Staff)   43.12
10/21/2019         538          Terry Lenoir      Bonus (25% of $20k bonus allocated to Top Field Staff)   43.59
10/21/2019         539        Andrew Lopez        Bonus (25% of $20k bonus allocated to Top Field Staff)   41.23
10/21/2019   540               Euolah Lopez       Bonus (25% of $20k bonus allocated to Top Field Staff)   58.78
10/21/2019   541           Loretta Isabel Lopez   Bonus (25% of $20k bonus allocated to Top Field Staff)   49.43
10/21/2019         542       Zachary Manley       Bonus (25% of $20k bonus allocated to Top Field Staff)   59.43
10/21/2019         543      Marcos Maravilla      Bonus (25% of $20k bonus allocated to Top Field Staff)    43.1
10/21/2019         545         James Moore        Bonus (25% of $20k bonus allocated to Top Field Staff)   56.24
10/21/2019         546          Julio Najera      Bonus (25% of $20k bonus allocated to Top Field Staff)   58.79
10/21/2019         547             Zhi Ngoi       Bonus (25% of $20k bonus allocated to Top Field Staff)   43.59
10/21/2019         548         Kryss Nguyen       Bonus (25% of $20k bonus allocated to Top Field Staff)   43.11
10/21/2019         549       Emmanuel Noel        Bonus (25% of $20k bonus allocated to Top Field Staff)   59.43
10/21/2019         550         Cory Nunnally      Bonus (25% of $20k bonus allocated to Top Field Staff)   43.57

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10/21/2019         551        Aristeo Ochoa         Bonus (25% of $20k bonus allocated to Top Field Staff)    58.78
10/21/2019         552          Abel Ortega         Bonus (25% of $20k bonus allocated to Top Field Staff)    58.78
10/21/2019         553       Rolando Pabon          Bonus (25% of $20k bonus allocated to Top Field Staff)    43.58
10/21/2019         554      Richard Palacios        Bonus (25% of $20k bonus allocated to Top Field Staff)    43.12
10/21/2019         555     Ashamad Pinchem          Bonus (25% of $20k bonus allocated to Top Field Staff)     43.1
10/21/2019         556       Erickson Ramos         Bonus (25% of $20k bonus allocated to Top Field Staff)    58.78
10/21/2019         557         Rakeem Reed          Bonus (25% of $20k bonus allocated to Top Field Staff)    55.02
10/21/2019   558                 David Reid         Bonus (25% of $20k bonus allocated to Top Field Staff)    56.24
10/21/2019         559         Waldo Reyes          Bonus (25% of $20k bonus allocated to Top Field Staff)    43.11
10/21/2019         560      David Rodriguez         Bonus (25% of $20k bonus allocated to Top Field Staff)    43.09
10/21/2019         561     Erasmo Rodriguez         Bonus (25% of $20k bonus allocated to Top Field Staff)    58.78
10/21/2019         562         Jordan Salem         Bonus (25% of $20k bonus allocated to Top Field Staff)    40.75
10/21/2019         563    Hussam Saraieldien        Bonus (25% of $20k bonus allocated to Top Field Staff)    59.43
10/21/2019         564       Sherrard Sharp         Bonus (25% of $20k bonus allocated to Top Field Staff)    29.72
10/21/2019         565       Alicia Shepherd        Bonus (25% of $20k bonus allocated to Top Field Staff)    43.58
10/21/2019         566          Koby Simon          Bonus (25% of $20k bonus allocated to Top Field Staff)    43.58
10/21/2019         567         Teresa Smith         Bonus (25% of $20k bonus allocated to Top Field Staff)    43.58
10/21/2019         568       Nicholas Solari        Bonus (25% of $20k bonus allocated to Top Field Staff)    58.79
10/21/2019         569   Christopher Struzynski     Bonus (25% of $20k bonus allocated to Top Field Staff)    43.58
10/21/2019         570     Christopher Suber        Bonus (25% of $20k bonus allocated to Top Field Staff)    43.58
10/21/2019         571       Brent Swanson          Bonus (25% of $20k bonus allocated to Top Field Staff)    43.59
10/21/2019         572      Dayvson Tavares         Bonus (25% of $20k bonus allocated to Top Field Staff)    58.78
10/21/2019         573          luis Valdivia       Bonus (25% of $20k bonus allocated to Top Field Staff)    43.11
10/21/2019         574        Roger Valdivia        Bonus (25% of $20k bonus allocated to Top Field Staff)    58.79
10/21/2019         575    Nancy Vasquez Lepe        Bonus (25% of $20k bonus allocated to Top Field Staff)     43.1
10/21/2019         576        Josue Venegas         Bonus (25% of $20k bonus allocated to Top Field Staff)    43.11
10/21/2019         577       Abraham Villela        Bonus (25% of $20k bonus allocated to Top Field Staff)    43.11
10/21/2019         578      Michael Webster         Bonus (25% of $20k bonus allocated to Top Field Staff)    56.24
10/21/2019         579     Jonathan Whitlock        Bonus (25% of $20k bonus allocated to Top Field Staff)    59.43
10/21/2019         580       Angela Williams        Bonus (25% of $20k bonus allocated to Top Field Staff)    43.59
10/21/2019         581        Rohan Wilson          Bonus (25% of $20k bonus allocated to Top Field Staff)    43.59
10/21/2019         582         Darryl Wright        Bonus (25% of $20k bonus allocated to Top Field Staff)    43.57
10/21/2019         583        Tawny Wright          Bonus (25% of $20k bonus allocated to Top Field Staff)    43.58
10/22/2019         590        David Costello        Bonus (25% of $20k bonus allocated to Top Field Staff)    41.23
10/22/2019         591       Angela Delacruz        Bonus (25% of $20k bonus allocated to Top Field Staff)    59.43
10/22/2019         584      Keenan Ysaguirre                            Final check                          172.47
10/22/2019         585        Isaac Acevedo                             Final check                          354.29
10/22/2019         586         Juan Cabrera                             Final check                          415.19
10/22/2019         587           Jarron King                            Final check                           284.5
10/22/2019         588         Steve
                         Christopher  Medina
                                        De La Paz                       Final check                           37.33
10/22/2019         589          Ventura                                   Final check                         253.48
10/23/2019         594        Isaac Garcia                                Final check                         136.70
10/23/2019         593     Gerson Segovia                                 Final check                          84.62
10/23/2019         592       Gerson Chica                                 Final check                         666.41
10/24/2019         595         Daniel Ngo                        Final check 1016-10242019                    391.97
10/24/2019         596       Roney Hilario                       Final check 1016-10242019                    466.45
10/24/2019         597       Cesar Estrada                       Final check 1016-10242019                     212.1
10/24/2019         598        Eric Thames                        Final check 1016-10242019                    247.34
10/24/2019         599    Ashamad Pinchem                              1001-10152019                         1,198.18
10/24/2019         600        Sara Mason                                  Final check                        1,216.21
10/24/2019         601         Daniel Ngo                               Sick hours pay                        121.62
10/25/2019         603     Janyse Coleman                        Final check 1016-10252019                     58.58
10/25/2019         604      Steven Garcia                        Final check 1016-10252019                    643.91
10/25/2019         605     Davion McCaleb                        Final check 1016-10252019                    779.51
10/28/2019         606     Janyse Coleman                        Final check 1016-10282019                    156.21
10/28/2019         607    Miguel De Santiago                     Final check 1016-10282019                    605.28
10/28/2019         608    Quiryataim Verdin                      Final check 1016-10282019                    382.06
10/28/2019         609      Edwin Morales                        Final check 1016-10282019                    403.41
10/29/2019         610     Andrew Olivarez                       Final check 1016-10282019                    726.57
10/29/2019         611         Jose Mora                         Final check 1016-10292019                    160.74
10/29/2019         612       Mario Gomez                         Final check 1016-10292019                    556.91

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10/29/2019   613         Jose Mora                  Final check 1016-10292019               104.14
10/31/2019   614      Janyse Coleman                      0906-09132019                     650.86
10/31/2019   615        Jesus Narez                 Final check 1016-10312019               233.77
10/31/2019   616      Isaac Barrientos              Final check 1016-10312019               971.66
10/31/2019   617        Andy Rivera                 Final check 1016-10312019               255.22
10/31/2019   618       Edgar Cabrera                Final check 1016-10312019               330.56

                                                         TOTAL DISBURSEMENTS THIS PERIOD:      1,585,535




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                                                    PAYROLL ACCOUNT
                                                   BANK RECONCILIATION

                           Bank statement Date:           10/31/2019     Balance on Statement:      17,737

Plus deposits in transit (a):
                                                    Deposit Date           Deposit Amount



TOTAL DEPOSITS IN TRANSIT                                                                               -

Less Outstanding Checks (a):
                           Check Number              Check Date             Check Amount
                                121                   6/26/2019                 30.27
                                173                   7/15/2019                156.15
                                182                   7/18/2019                 32.55
                                185                   7/18/2019                833.13
                                225                   7/31/2019                 854.3
                                261                   8/8/2019                  32.54
                                302                   8/21/2019                138.52
                                305                   8/21/2019                 20.79
                                311                   8/21/2019                 379.2
                                326                   8/27/2019                595.61
                                328                   8/27/2019                596.92
                                353                   9/3/2019                 858.76
                                387                   9/5/2019                  75.54
                                396                   9/12/2019                 32.55
                                425                   9/24/2019                 32.54
                                426                   9/24/2019                 32.55
                                484                  10/21/2019                 58.78
                                485                  10/21/2019                 43.59
                                488                  10/21/2019                 43.59
                                495                  10/21/2019                 43.57
                                498                  10/21/2019                  20.8
                                502                  10/21/2019                 43.11
                                504                  10/21/2019                 43.09
                                506                  10/21/2019                 43.57
                                509                  10/21/2019                 59.43
                                510                  10/21/2019                 43.58
                                511                  10/21/2019                 59.42
                                513                  10/21/2019                 43.11
                                514                  10/21/2019                 43.11
                                517                  10/21/2019                 56.24
                                518                  10/21/2019                 56.24
                                519                  10/21/2019                 43.11
                                520                  10/21/2019                 56.23
                                526                  10/21/2019                 59.43
                                529                  10/21/2019                 43.59
                                531                  10/21/2019                 43.58
                                532                  10/21/2019                 41.23
                                535                  10/21/2019                 43.58
                                537                  10/21/2019                 43.12
                                538                  10/21/2019                 43.59
                                539                  10/21/2019                 41.23
                                540                  10/21/2019                 58.78
                                542                  10/21/2019                 59.43
                                543                  10/21/2019                  43.1
                                545                  10/21/2019                 56.24

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                                547                     10/21/2019          43.59
                                548                     10/21/2019          43.11
                                550                     10/21/2019          43.57
                                553                     10/21/2019          43.58
                                554                     10/21/2019          43.12
                                556                     10/21/2019          58.78
                                558                     10/21/2019          56.24
                                559                     10/21/2019          43.11
                                562                     10/21/2019          40.75
                                566                     10/21/2019          43.58
                                567                     10/21/2019          43.58
                                569                     10/21/2019          43.58
                                570                     10/21/2019          43.58
                                572                     10/21/2019          58.78
                                573                     10/21/2019          43.11
                                575                     10/21/2019           43.1
                                577                     10/21/2019          43.11
                                578                     10/21/2019          56.24
                                579                     10/21/2019          59.43
                                580                     10/21/2019          43.59
                                581                     10/21/2019          43.59
                                582                     10/21/2019          43.57
                                583                     10/21/2019          43.58
                                588                     10/22/2019          37.33
                                594                     10/23/2019          136.7
                                600                     10/24/2019         1,216.21
                                604                     10/25/2019          643.91
                                608                     10/28/2019          382.06
                                611                     10/29/2019          160.74
                                613                     10/29/2019          104.14
                                614                     10/31/2019          650.86
                                616                     10/31/2019          971.66
                                617                     10/31/2019          255.22
                                618                     10/31/2019          330.56



TOTAL OUTSTANDING CHECKS:                                                                        12,037

Bank statement Adjustments:
Explanation of Adjustments-



ADJUSTED BANK BALANCE:                                                                            5,700
* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment




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                                          I. CASH RECEIPTS AND DISBURSEMENTS
                                                    C. (TAX ACCOUNT)

1. TOTAL RECEIPTS PER ALL PRIOR TAX ACCOUNT REPORTS                                         2,226,717

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR TAX                                              2,226,198
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                            519

4. RECEIPTS DURING CURRENT PERIOD:                                                           500,380
     (Transfer from General Account)
Other (Itemize):



5. BALANCE:                                                                                500,899.56

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
     TOTAL DISBURSEMENTS THIS PERIOD:***                                                     489,810

7. ENDING BALANCE:                                                                            11,090

8.   TAX Account Number(s):                            ******8399


                                                       DIP Taxes Wells Fargo
                                                       3200 Foothill, Blvd.
     Depository Name & Location:                       La Crescenta, CA 91214




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                              TOTAL DISBURSEMENTS FROM TAX ACCOUNT FOR CURRENT PERIOD

                     Check
Date mm/dd/yyyy     Number                 Payee                           Purpose                    Amount
   10/03/2019     Wire        ADP                       Payroll Tax                                       252,135
   10/03/2019     Deduction   Wells Fargo Bank          Bank Charges                                             5
   10/09/2019     Deduction   Wells Fargo Bank          Bank Charges                                            35
   10/10/2019     Deduction   Wells Fargo Bank          Bank Charges                                            30
   10/10/2019     Wire        ADP                       401K                                                 4,541
   10/17/2019     Deduction   Wells Fargo Bank          Bank Charges                                             5
   10/17/2019     Wire        ADP                       Payroll Tax                                       233,010
   10/23/2019     Deduction   Wells Fargo Bank          Bank Charges                                            35
   10/31/2019     Deduction   Wells Fargo Bank          Bank Charges                                            14
                                                                   TOTAL DISBURSEMENTS THIS PERIOD:        489,810




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                                                         TAX ACCOUNT
                                                      BANK RECONCILIATION

                           Bank statement Date:               10/31/2019    Balance on Statement:      11,090

Plus deposits in transit (a):
                                                        Deposit Date          Deposit Amount



TOTAL DEPOSITS IN TRANSIT                                                                                  0

Less Outstanding Checks (a):
                           Check Number                 Check Date             Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                  0

Bank statement Adjustments:
Explanation of Adjustments-



ADJUSTED BANK BALANCE:                                                                                 11,090

* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment




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                                                     I. D SUMMARY SCHEDULE OF CASH

ENDING BALANCES FOR THE PERIOD:
                     (Provide a copy of monthly account statements for each of the below)

                                                             General Account:                   2,065,151
                                                              Payroll Account:                      5,700
                                                                 Tax Account:                      11,090
       *Other Accounts:


        *Other Monies:
                                                   **Petty Cash (from below):                            0

TOTAL CASH AVAILABLE:                                                                                                         2,081,941


Petty Cash Transactions:
          Date                       Purpose                                               Amount




TOTAL PETTY CASH TRANSACTIONS:                                                                                                        0



* Specify the Type of holding (e.g. CD, Savings Account, Investment Security), and the depository name, location & account#
** Attach Exhibit Itemizing all petty cash transactions




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                                              II. STATUS OF PAYMENTS TO SECURED CREDITORS, LESSORS
                                                    AND OTHER PARTIES TO EXECUTORY CONTRACTS


                                                 Frequency of Payments                                Post-Petition payments
            Creditor, Lessor, Etc.                     (Mo/Qtr)               Amount of Payment        not made (Number)              Total Due
Hillair Capital                               Weekly                                       40,000                          0                         0
Parkway Commercial Realty                     Monthly                                       3,412                          0                         0
Three Two Seven Family Mmgt LLC               Monthly                                       2,335                          0                         0
Trust 5025983 LLC                             Monthly                                       2,000                          0                         0
Bulldog Commercial Real Estate                Monthly                                      10,500                          0                         0
ExtraSpaceStorage                             Monthly                                         140                          0                         0
The Hertz Corporation (1)                     Bi-Monthly                                  446,302                          2                   183,684 (1)
Lockton Companies, LLC                        Monthly                                      71,022                          0                         0
GTR Source LLC                                Monthly                                      27,663                          6                   165,977
Hop Capital                                   Monthly                                      37,978                          6                   227,870
Chrome Capital                                Unknown                                     350,000                    Unknown                   350,000 (2)
WG Fund                                       Monthly                                       2,722                          6                    16,333
Influx Capital LLC                            Monthly                                       3,427                          6                    20,564
NexGen Capital, LLC                           Monthly                                      28,210                          6                   169,257
                                                                                                                  TOTAL DUE:                 1,133,684

(1) Historically, the total monthly amount due and owing Hertz, which fluctuates depending on van usage, was split into two (2) payments (roughly
85%/15%).

(2) Based upon the limited settlement documentation relating to Chrome Capital that the debtors are in possession of, it appears that the total
settlement amount was $350K, of which none was paid (although it is unclear whether and when any settlement payments were or are due, given
the lack of settlement documentation in this regard).


                                                                  III. TAX LIABILITIES

FOR THE REPORTING PERIOD:
                                                                                             Gross Sales Subject to Sales Tax:                    0.00
                                                                                                           Total Wages Paid:                 1,585,535

                                                                              Total Post-Petition                                  Date Delinquent
                                                                               Amounts Owing           Amount Delinquent            Amount Due
                                              Federal Withholding                              0.00
                                              State Withholding                                0.00
                                              FICA- Employer's Share                           0.00
                                              FICA- Employee's Share                           0.00
                                              Federal Unemployment                             0.00
                                              Sales and Use                 NA
                                              Real Property                 NA
                                     Other:
                                                                   TOTAL:                         0                         0

(1) Hertz Corportion submitted a pre-petition amounts due that is materially different from $446,302 comparising of Tolls charges that were not billed to
the Debtor. Debtor is in the process of auditing all the amounts submitted to verify validity of amounts. It is likely that over $100k will be added to the
balance if Debtor can successfully reduce penalties for trivial toll charges that in some cases are $500 or $1,000 per toll charge.




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                                                            IV. AGING OF ACCOUNTS PAYABLE AND RECEIVABLE

                                                                                                             *Accounts Payable                         Accounts Receivable
                                                                                                               Post-Petition                    Pre-Petition         Post-Petition
                                                                                            Current                          496,195                         -             3,950,910
                                                                                        1 - 30 days                            17,460                        -                     -
                                                                                       31 - 60 days                            33,696                        -                     -
                                                                                       61 - 90 days                            65,427                        -                     -
                                                                                      91 - 120 days                            29,465                        -                     -
                                                                                     Over 120 days                             44,885                   344,788                    -
                                                                                            TOTAL:                           687,128                    344,788            3,950,910




                                                                         V. INSURANCE COVERAGE

                                                                                                                                                                      Premium Paid
                                Type                               Name of Carrier                            Amount of Coverage           Policy Expiration Date    Through (Date)
                  General Liability              Lockton Insurance Brokers, LLC                       $300k to $1M                                      1/1/2020            12/1/2019
                  Worker's Compensation          Innovative (CA/IL)                                   No limit, w $10k deductible                      11/1/2019           10/31/2019
                  Worker's Compensation          Self Insured in Texas                                Self Insured                                       Monthly           11/30/2019
                  Vehicle                        Hertz                                                $0-300K                                           1/1/2020            11/1/2019
          Others: Umbrella                       First Insurance Funding                              $1M                                              9/15/2020           12/31/2019


                                                               VI. UNITED STATES TRUSTEE QUARTERLY FEES
                                                                           (TOTAL PAYMENTS)

Quarterly Period                                                                                                                                                    Quarterly Fees Still
 Ending (Date)        Total Disbursements                         Quarterly Fees                                  Date Paid                    Amount Paid               Owing
        6/30/2019                   106,800.00                                              1,068                              8/16/2019                1,068                       -
        6/30/2019                 6,409,600.00                                             64,096                              7/22/2019               64,096                       -
      30-Sep-2019                12,823,000.00                                         128,230.00                             11/12/2019           128,230.00                       -
                                                                                                                                                                                    -
                                                                                          193,394                                                       193,394                     -




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                                            VII SCHEDULE OF COMPENSATION PAID TO INSIDERS


                                          Date of Order Authorizing                                                 Gross Compensation
             Name of Insider                   Compensation                  *Authorized Gross Compensation        Paid During the Month
George Voskanian                                  6/12/2019                         $25,000 / Month                                25,000
Scott Sheikh                                      6/12/2019                         $25,000 / Month                                25,000




                                          VIII. SCHEDULE OF OTHER AMOUNTS PAID TO INSIDERS

                                          Date of Order Authorizing                                                Amount Paid During the
             Name of Insider                   Compensation                             Description                       Month
George Voskanian                                          10/1/2019       Travel Expense Reimbursements (Texas)                    4,772
George Voskanian                                          10/6/2019              Expense Reimbursements                              998
Scott Sheikh                                              10/1/2019      Travel Expense Reimbursements (Chicago)                   6,657

* Please indicate how compensation was identified in the order (e.g. $1,000/week, $2,500/month)
(1) Includes approved compensation per the underlying stipulation including catch-up amounts.




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                                                                IX. PROFIT AND LOSS STATEMENT
                                                                      (ACCRUAL BASIS ONLY)

                                                                             10/1/2019 through
                                                                                10/31/2019                 Cumulative Post-Petition
            Sales/Revenue:
                 Gross Sales/Revenue                                                 3,531,226.93                              23,921,790
                 Less: Returns/Discounts                                                       0                                        0
                                                     Net Sales/Revenue                 3,531,227                               23,921,790

            Cost of Goods Sold:
                 Beginning Inventory at cost                                                     0                                       0
                 Purchases                                                                       0                                       0
                 Less: Ending Inventory at cost                                                  0                                       0
                                              Cost of Goods Sold (COGS)                          0                                       0

            Gross Profit                                                                3,531,227                              23,921,790

                 Other Operating Income (Itemize)

            Operating Expenses:
                Payroll - Insiders                                                         55,000                                 390,866
                Payroll - Other Employees                                               1,833,328                              12,370,882
                Payroll Taxes                                                             159,008                               1,127,259
                Other Franchise Tax and Filing Fees (Itemize)                                   0                                   6,647
                Depreciation and Amortization                                                   0                                  68,093
                Rent Expense - Real Property                                               16,246                                 101,477
                Lease Expense - Personal Property                                               0                                       0
                Insurance                                                                 220,387                               1,402,554
                Tax Consulting Fees                                                        34,318                                  34,318
                Telephone and Utilities                                                    35,872                                 205,493
                Repairs and Maintenance                                                       400                                   6,784
                Travel and Entertainment (Itemize)                                          1,431                                  65,833
                Miscellaneous Operating Expenses (Itemize)                              1,109,595                               5,581,350
                                               Total Operating Expenses                 3,465,584                              21,361,556

                                        Net Gain/(Loss) from Operations                    65,643                               2,560,234

            Non-Operating Income:
                Interest Income                                                                  0                                      19
                Net Gain on Sale of Assets (Itemize)                                             0                                       0
                Other (Itemize)                                                                  0                                       0
                                            Total Non-Operating income                           0                                      19

            Non-Operating Expenses:
                Interest Expense
                Legal and Professional (Itemize)
                    Debtor Counsel                                                        176,318                               1,314,550
                    Debtor CRO                                                             21,729                                 211,993
                    Debtor Advisor                                                         52,552                                 377,529
                    Board of Directors                                                      5,000                                  25,000
                    Secured Lender Counsel                                                 25,168                                 342,194
                    Committee Counsel                                                      39,091                                 292,760
                    Committee Professionals                                                     0                                       0
                    Investment Banker (2)                                                 -50,000                                 250,000
                    US Trustee Fees                                                             0                                  65,814
                    Accrued US Trustee Fees for Q3                                         40,569                                 128,230
                Other (Itemize)                                                                 0                                       0
                                      Total Non-Operating Expenses (1)                    310,428                               3,008,071

            NET INCOME/(LOSS)                                                            (244,786)                               (447,817)

            Itemized Miscellaneous Operating Expenses
                 Fuel Expense                                                             264,880                               1,808,489
                 Vehicle Expense (5)                                                      601,286                               3,033,859
                 Employment Counsel                                                             0                                       0
                 Office Supplies                                                           23,126                                 117,531
                 Driver Background Check                                                   14,038                                 109,741
                 Dues and Subscriptions                                                     6,000                                  31,434
                 Car Wash                                                                   3,220                                  37,856
                 Citation/Tolls (3)                                                       148,132                                 170,967
                 Accidents                                                                  1,200                                   6,354
                 Bank Charges                                                                 776                                   6,687
                 Recruitment Expenses                                                      10,670                                  55,355
                 IT Expenses                                                               16,200                                 102,150
                 Other misc. OpEx (4)                                                      20,067                                 100,929
                 Total                                                                  1,109,595                               5,581,350

            (1) The identified amounts are estimates based upon discussions with the Debtors’ professionals, Committee counsel and
            counsel for Hillair, as applicable, and are subject to various orders, including but not limited to orders governing the use of
            cash collateral and orders approving the employment of the various professionals identified.
            (2) Reversal of an accrual requested by the CRO.
            (3) Hertz billed for tolls that were not previsouly billed, spanning from August 2018 through 10/31/19. The amount of
            $148,132 is for post-petition toll amounts that include penalties and administrative fees due to delay of payment. The
            Company is in the process of negotiating with Hertz and the thrid party that billed through Hertz to reduce the penalty
            amounts as the Company was not timely notified of these charges.
            (4) Includes $16,443 Uniform expense, $2819 Janitorial expense and $805 shipping expense
            (5) The Company is in the process of auditing Hertz's billing as it seems to be overstated as number of vans rented has
            substantially reduced, yet billing has gone up. The Company anticipates that $75-100k may be reduced after the audit is
            complete as early audit findings show billing for vans that were not rented.

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                                                                                    X. BALANCE SHEET
                                                                                  (ACCRUAL BASIS ONLY)

ASSETS                                                                                                           Current Month End
   Current Assets:
   Unrestricted Cash                                                                                                      2,081,941
   Restricted Cash                                                                                                                0
   Accounts Receivable                                                                                                    4,070,756
   Inventory                                                                                                                      0
   Notes Receivable                                                                                                               0
   Prepaid Expenses                                                                                                          96,568 (1)
   Other (Itemize)                                                                                                                0
                                                                   Total Current Assets                                                                                       6,249,264

Property, Plant, and Equipment                                                                                            1,096,486
Accumulated Depreciation/Depletion                                                                                         (219,404)
                                                  Net Property, Plant, and Equipment                                                                                            877,082

Other Assets (Net of Amortization):
   Due from Insiders                                                                                                      1,887,751 (2)
   Other (Itemize)                                                                                                            7,174 (3)
                                                                     Total Other Assets                                                                                       1,894,925

TOTAL ASSETS                                                                                                                                                                  9,021,271

LIABILITIES
Post-petition Liabilities:
   Accounts Payable                                                                                                         687,128 (4)
   Taxes Payable                                                                                                                  0
   Notes Payable                                                                                                                  0
   Professional fees                                                                                                      1,080,654
   Secured Debt                                                                                                                   0
   Accrued Payroll                                                                                                        1,024,651
   Accrued Q3 US Trustee Fees                                                                                               128,230
   Other (Itemize)                                                                                                           66,210 (7)
                                                          Total Post-petition Liabilities                                                                                     2,986,873

Pre-petition Liabilities:
   Hillair Notes Payable due to Scoobeez Global                                                                          11,153,098 (5)
   Hillair (Per cash collateral stipulation)                                                                             (1,000,000) (5)
   Priority Liabilities                                                                                                           0
   Unsecured Liabilities                                                                                                 24,070,267 (6)
   Other (Itemize)                                                                                                          926,953
                                                           Total Pre-petition Liabilities                                                                                    35,150,318

TOTAL LIABILITIES                                                                                                                                                            38,137,191

EQUITY:
   Pre-petition Owners’ Equity                                                                                          (20,569,242)
   Post-petition Profit/(Loss)                                                                                             (447,817)
   Direct Charges to Equity                                                                                              (8,098,859)
TOTAL EQUITY                                                                                                                                                                (29,115,919)

TOTAL LIABILITIES & EQUITY                                                                                                                                                    9,021,272
                                                                                                                                                                                      0

(1) Includes deposits for fuel in the approximate amounts of $40K for Pex. The remaining amount is comprised of a combination of rental security deposits and insurance deposits.

(2) The amount "Due from Insiders" continues to be reviewed and this figure will be updated as necessary and appropriate based upon that review.
(3) This amount reflects primarily potential funds to be recovered from various merchant cash entities.
(4) Hertz ($387K), Booster ($19k), AT&T Mobility ($57K), Tolls ($144K), Innovative work ($63k) and various other accounts payable ($17K).
(5) Since the petition date the Debtor has paid $1M to Hillair Capital Management pursuant to certain cash collateral stipulations and orders, and said funds shall be applied in a
manner consistent therewith.
(6) The Pre-Petition Unsecured Liabilities include the balance due and owing Avitus as reflected in the Debtor(s)' pre-petition balance sheet(s) ($15,971,408) (the "Avitus Debt").
Although this figure is disputed by the Debtor(s), and inconsistent with the figure(s) included in the schedules filed by the Debtors (which the Debtors believe to be a more accurate
estimate of the amount actually due and owing Avitus), this figure is included herein in order to maintain consistency with the Debtor(s)' previous balance sheet(s). In addition, this
figure includes $8,098,859 due and owing a number of merchant cash advance entities pursuant to a global settlement by and among the Debtor and Scoobeez Global, on the one
hand, and a number of merchant cash entities on the other hand.
(7) Accrual includes Tax preparation expense of $37K and expenses submitted by Suzy, which are pending to be verifed for the amount of $29K.




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                                                                           XI. QUESTIONNAIRE



1.   Has the debtor-in-possession made any payments on its pre-petition unsecured debt, except as have been authorized by the court? If "Yes",
     explain below:                                                                                                                                      No    Yes



                                                                                                                                                         X


2.   Has the debtor-in-possession during this reporting period provided compensation or remuneration to any officers, directors, principals, or other
     insiders without appropriate authorization? If "Yes", explain below:                                                                                No    Yes

                                                                                                                                                         X

3.   State what progress was made during the reporting period toward filing a plan of reorganization
     On October 25, 2019, the Debtors filed a complaint against Amazon, which commenced the adversary proceeding bearing case number 2:19-ap-
     01456 (the “Adversary Proceeding”). On the same day, the Debtors filed an Emergency Motion For Temporary Restraining Order And Preliminary
     Injunction to Prevent Violation Of The Automatic Stay, the hearing for which was set on October 28, 2019 (the “TRO Hearing”). On October 28,
     2019, Hillair Capital Management (“Hillair”) filed an Expedited Motion to Intervene in [the Adversary Proceeding], which was set for hearing on
     November 18, 2019. Also on October 28, 2019, Amazon filed a Motion For Relief From Stay And For An Order (A) Determining That The Automatic
     Stay Does Not Require Amazon to Utilize Debtor’s Services, And (B) Modifying The Automatic Stay. Immediately prior to the TRO Hearing, the
     Debtors, the Official Committee of Unsecured Creditors and Hillair reached an agreement whereby Amazon agreed not to: (1) terminate the
     agreements by and between the Debtor(s) on the one hand and Amazon on the other hand; (2) engage with the Debtor(s) employees in a manner
     inconsistent with the ordinary course; and (3) reduce routes in a manner inconsistent with the ordinary course pending the hearing on the
     preliminary injunction. Since the TRO Hearing, the parties have worked in good faith towards a “global” resolution (whether through a formal
     mediation or otherwise), and are hopeful that a consensual resolution will be reached in short order.


4.   Describe potential future developments which may have a significant impact on the case:
     See response to Question #3.



5.   Attach copies of all Orders granting relief from the automatic stay that were entered during the reporting period.
     NA

6.   Did you receive any exempt income this month, which is not set forth in the operating report? If "Yes", please set forth the amounts and sources
     of the income below.                                                                                                                                No    Yes
                                                                                                                                                         X

     /s/ George Voskanian
I,   George Voskanian, CFO/Co-CEO
     declare under penalty of perjury that I have fully read and understood the foregoing debtor-in-possession operating report and that the
     information contained herein is true and complete to the best of my knowledge.




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 Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 GREGORY M. SALVATO (SBN 126285)
    GSalvato@salvatolawoffices.com                                                                       FILED & ENTERED
 JOSEPH BOUFADEL (SBN 267312)
    JBoufadel@salvatolawoffices.com                                                                              OCT 07 2019
 EMMA SAMYAN (SBN 322703)
    ESamyan@salvatolawoffices.com                                                                          CLERK U.S. BANKRUPTCY COURT
 SALVATO LAW OFFICES                                                                                       Central District of California
                                                                                                           BY kaaumoanDEPUTY CLERK
 777 South Figueroa Street, Suite 2800
 Los Angeles, California 90071-9500
 Telephone:    (213) 484-8400
 Facsimile:    (213) 401-2411

     Movant appearing without an attorney
     Attorney for Movant AZAD BABAN

                                          UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

 In re:                                                                       CASE NO.: 2:19-bk-14989-WB

 SCOOBEEZ et al,                                                              CHAPTER: 11

                         Debtor.                                                      ORDER GRANTING MOTION FOR
 Affects:                                                                           RELIEF FROM THE AUTOMATIC STAY
 ■ All Debtors                                                                             UNDER 11 U.S.C. § 362
 □ Scoobeez, ONLY
 □ Scoobeez Global, Inc., ONLY                                                        (Action in Nonbankruptcy Forum)
 □ Scoobur LLC, ONLY
                                                                              DATE: October 8, 2019
                                                                              TIME: 10:00 a.m.
                                                                              COURTROOM: 1375
                                                                              PLACE: Roybal Federal Building
                                                                                     255 E. Temple Street
                                                                                     Los Angeles, CA 90012


 MOVANT:         AZAD BABAN


1. The Motion was:                  Opposed              Unopposed               Settled by stipulation
                                                                                 (docket no. 351)
2. The Motion affects the following Nonbankruptcy Action:

    Name of Nonbankruptcy Action: Azad Baban v. Scoobeez, Inc., et al.
    Docket number: BC692250
    Nonbankruptcy court or agency where the Nonbankruptcy Action is pending: Los Angeles Superior Court




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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3. The Motion is granted under 11 U.S.C. § 362(d)(1).

4. As to Movant, its successors, transferees and assigns, the stay of 11 U.S.C. § 362(a) is:
      a.        Terminated as to the Debtor and the Debtor’s bankruptcy estate.
      b.        Modified or conditioned as set forth in Exhibit                    to the Motion.
      c.        Annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant to enforce its
                remedies regarding the nonbankruptcy action do not constitute a violation of the stay.

5. Limitations on Enforcement of Judgment: Movant may proceed in the nonbankruptcy forum to final judgment
      (including any appeals) in accordance with applicable nonbankruptcy law. Movant is permitted to enforce its final
      judgment only by (specify all that apply):
      a.        Collecting upon any available insurance in accordance with applicable nonbankruptcy law.
      b.        Proceeding against the Debtor as to property or earnings that are not property of this bankruptcy estate.

6. This order is binding and effective despite any conversion of this bankruptcy case to a case under any other chapter
   of the Bankruptcy Code.

7.         The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
           the same terms and conditions as to the Debtor.

8.         The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

9.         This order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of
           180 days, so that no further automatic stay shall arise in that case as to the nonbankruptcy action.
10.        This order is binding and effective in any future bankruptcy case, no matter who the debtor may be, without
           further notice.
11.        Other (specify):
           1.         Relief from the automatic stay under U.S.C. § 362 is granted for the limited purpose of pursuing the state
                      court action, entitled Azad Baban v. Scoobeez, Inc., et al., Case No. BC692250 (the “State Court
                      Action”), to judgment (including through appeal, if and as necessary) in order to liquidate the claims at
                      issue in the State Court Action and solely to recover from and to the extent of any applicable coverage
                      available under the Policies, if any.

           2.         Plaintiff shall retain the right to prosecute the proof of claim in the Bankruptcy Case, designated as Claim
                      No. 5 (“Proof of Claim”) to the extent the liability thereunder is not otherwise satisfied by the proceeds of
                      the Policies, if any.

           3.         Within ten (10) days of Plaintiff’s receipt of any proceeds from one or more of the Policies on account of
                      the claims pled in the FAC (the “Insurance Proceeds”), Plaintiff shall amend the Proof of Claim to reflect
                      the proceeds received.

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           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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        4.         Within ten (10) days of entry of any judgment in the State Court Action in favor of Plaintiff against the
                   Debtor, Plaintiff shall amend the Proof of Claim to reflect the liquidated amount of the claim(s) as against
                   the Debtors, or any of them, net of any Insurance Proceeds received from the Policies, if any.

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                Date: October 7, 2019




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